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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

DEMETRIUS JOHNSON,                                     )
                                                       )   Case No. 20 CV 4156
                             Plaintiff,                )
                                                       )   Hon. Sara L. Ellis
                                                       )
              vs.                                      )
                                                       )   Magistrate Judge Heather McShain
                                                       )
REYNALDO GUEVARA, the ESTATE of                        )
ERNEST HALVORSEN, DARRYL DALEY,                        )
WILLIAM ERICKSON, JOHN HEALY, and                      )
the CITY OF CHICAGO,                                   )
                     Defendants.                       )


DEFENDANT GUEVARA’S MOTION TO JOIN THE PARTIES’ JOINT STATEMENT
  OF UNCONTESTED FACTS AND MEMORANDUM OF LAW IN SUPPORT OF
             THEIR MOTION FOR SUMMARY JUDGMENT

   I. Introduction

       Plaintiff, Demetrius Johnson, has filed suit against Reynaldo Guevara, other former

Chicago Police Officers (Ernest Halvorsen (deceased), Darryl Daley, William Erickson, and John

Healy) (“Defendant Officers”), and the City of Chicago, alleging violations of his constitutional

rights under 42 U.S.C. §1983 and of state law (R.1).

       There are eight Counts alleged against Defendant Officers and Guevara are:

       Count I – Fourteenth Amendment Due Process
       Count II – Fourth and Fourteenth Amendment Unlawful Detention
       Count III – Federal Failure to Intervene
       Count IV – Federal Conspiracy (to Deprive Constitutional Rights)
       Count VI – State Law Malicious Prosecution
       Count VII – State Law Intentional Infliction of Emotional Distress
       Count VIII – State Law Willful and Wanton Conduct
       Count IX – State Law Conspiracy




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        The co-defendant Officers moved for summary judgment, filing a Memorandum of Law

in Support of Defendant Officers’ Motion for Summary Judgment (“DO Memo”) and the parties

submitted a Joint Statement of Uncontested Facts.1

    II. Joint Statement of Uncontested Facts

        Guevara moves to join the parties’ Joint Statement of Uncontested Facts.

    III. Memorandum’s Introduction, Statement of Facts, and Legal Standard

        Guevara moves to join in their entirety the Sections of the Memorandum entitled,

“Introduction,” “Factual Background,” and “Legal Standard.” (DO Memo, pp.1-11).

    IV. Memorandum’s Argument Section

        Guevara moves to join, in part, the “Argument” Section of co-defendant Officers’

Memorandum. Guevara joins the following arguments.

            a. Defendant Guevara Is Entitled to Partial Summary Judgment on Johnson’s
               Fourteenth Amendment Due Process Claim (Count I)

        Johnson brings three types of due process claims in Count I: a fabrication claim of both

police reports and witness identifications, an unduly suggestive identification claim and a Brady

claim. (R. 1, pp. 31-32) He presents several theories of liability for each type of claim. Guevara is

entitled to summary judgment on all theories of liability. Guevara moves to join the following

parts of the “Argument” Section related to the Count I Due Process claim that demonstrate that he

is entitled to partial summary judgment on that count.

                      i. Part I – Fabrication of Evidence Claim (Count I) Fails on the Merits

        As to the fabrication claim, Guevara joins all of Part I of the Argument Section except for

Part I.b (Defendants Erickson, Healy, and Daley’s argument regarding lack of personal



1
 Since this Motion is being filed simultaneously with the Independent Officers’ Motion for Summary Judgment and
Joint Statement of Undisputed Facts no cite to the record is available.

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involvement with witness identification of Johnson). (DO Memo, p.13-14). He is therefore entitled

to summary judgment on this claim.

                  ii. Part II – Johnson’s Claim of Unduly Suggestive Identification
                      Procedures Deprived him of a Fair Criminal Trial Fails as a Matter of
                      Law (Count I)

       Guevara joins all of Part II of the Argument Section (DO Memo, p.16-26), with the

exception of Part II.d (Johnson cannot establish that Defendants Erickson, Healy, and Daley were

involved in the suggestive identification procedures) (DO Memo, p.23-24). In Part II.c, Guevara

specifically joins and adopts Halvorsen’s argument for himself, i.e., as with Halvorsen there is

insufficient evidence that Guevara used a forbidden identification procedure that he knew would

cause Elba, Rosa, or Ricardo Burgos to identify Johnson. (DO Memo, p.21-23). He is therefore

entitled to summary judgment on this claim.

                  iii. Part III – Johnson lacks sufficient evidence to support his Brady claim
                       (Count I)

       Guevara joins all of Part III of the Argument Section (DO Memo, p.26-33), except for Part

III.b (Johnson lacks sufficient evidence to demonstrate that Daley, Halvorsen or Healy were

aware of the June 13 six-witness lineup report) (DO Memo p. 28-29) and Part III.c (Erickson

retired before Johnson’s criminal trial and there is no evidence that he was involved in producing

documents to the State’s Attorney’s Office) (DO Memo p. 29-31). The remainder of Part III

demonstrates that Johnson’s Brady claim cannot survive and Guevara is therefore entitled to

summary judgment on this claim.

           b. Part IV – Johnson’s Fourth Amendment Unlawful Pretrial Detention (Count
              II) and State Law Malicious Prosecution (Count VI) Claims Fail as a Matter
              of Law

       Guevara joins all of Part IV of the Argument Section (DO Memo, p. 33-36) with the

exception of Part IV.a (Erickson, Daley and Healy were not personally involved in gathering any

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evidence against Johnson or seeking charges) (DO Memo, p. 33-34). Accordingly, he is entitled

to summary judgment on Count II (Fourth Amendment unlawful pretrial detention) and Count

VI (state law malicious prosecution).

           c. Part VI – Defendant is Entitled to Summary Judgment on Johnson’s Failure
              to Intervene Claim (Count III)

       Guevara joins in Part VI of the Argument Section (DO Memo, p. 37-39) except for Part

VI.b (Johnson lacks evidence that Halvorsen, Daley, Erickson and Healy had a realistic

opportunity to intervene in any alleged constitutional violation) (DO Memo, p.38-39). To the

extent the underlying claims against him are dismissed, so too is the failure to intervene claim.

Because the claim is not cognizable in § 1983 cases, the claim in its entirety should be dismissed.

However, Guevara understands, like his co-defendants, that Seventh Circuit law currently

recognizes such a claim, so he raises the cognizability argument for preservation purposes.

           d. Part VII - Halvorsen, Erickson, Daley and Healy are Entitled to Judgment on
              Johnson’s IIED Claim (Count VII) Because They Did Not Commit any
              Extreme and Outrageous Acts that Caused Emotional Distress

       Guevara joins in Part VII (DO Memo, p. 39-40). Because all the other claims against

Guevara fail, so too must the IIED claim.

           e. Part VIII – There is no Evidence to Support Johnson’s § 1983 (Count IV)
              and state law (Count VI) Conspiracy Claims.

       Guevara joins all of Part VII of the Argument Section. (DO Memo, p. 40-41). As those

arguments state, Guevara is entitled to summary judgment on these conspiracy claims against him

to the extent the underlying claims are dismissed as well as the fact that there is no evidence to

support the conspiracy claim. He is also entitled to qualified immunity for this claim based on the

intra-corporate conspiracy doctrine.

           f. Part IX – Johnson Cannot State an Independent Claim for Willful and
              Wanton Conduct (Count VIII) Under Illinois State Law

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        Guevara joins Part IX in its entirety. (DO Memo, p.42). Because there is no separate and

independent tort of willful and wanton misconduct, he is entitled to summary judgment on Count

VIII.

   V. Conclusion

        WHEREFORE, for the foregoing reasons, Defendant Reynaldo Guevara requests that the

Court grant his motion to join the Joint Statement of Uncontested Facts in its entirety and Sections

of the Defendant Officers’ Memorandum as detailed above. Guevara also requests, based on the

foregoing, that this Court grant summary judgment.


                                                             Respectfully submitted,


                                                             /s/ Thomas More Leinenweber
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